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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT


                                              X

MELVIN DONEGAL,                                          CIVIL ACTION

       Plaintiff                                         NO

VS

METRO-NORTH RAILROAD COMPANY,

       Defendant

                                              X

                                       COMPLAINT

                                  NATURE OF ACTION

       1. The plaintiff brings this action against the defendant for injuries suffered by him

while in the employ of the defendant Railroad.


                                     JURISDICTION

      2.   This Court has subject matter jurisdiction in this case pursuant to the Federal

Employers' Liability Act, 45 U.S.C. $ 51 ef seq. Venue properly lies in this Court pursuant

to 45 U.S.C. S 56.

                                         PARTIES

       3. The plaintiff is domiciled in Hamden, Connecticut.
      4.   The defendant, Metro-North Railroad Company, is a railroad corporation duly

established by law, and having a usual place of business in New York, New York.
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                                           FACTS

       5.   During all times herein mentioned, the defendant was          a common carrier
engaged in the business of interstate commerce, and as such, operated a railroad in such

business between New York, New York, and New Haven, Connecticut.

       6. At the time the plaintiff received the injuries   complained of, he was employed

by the defendant Railroad as a Signal Maintainer and/or Assistant lnspector at or about

Milford, Connecticut.

       7.   At the time the plaintiff received the injuries complained of, the defendant

Railroad was engaged       in interstate commerce and the plaintiff was employed             in

furtherance of said commerce.

       8. On or aboutAugust 20,2019, the plaintiff was engaged        in his duties as a Signal

Maintainer and/or Assistant lnspector at or about Milford, Connecticut, which yard, work

areas, trucks, transformers, bars, pipes, cranks, ratches systems and all other equipment,

tools, materials, and appliances appurtenant thereto were owned and/or operated and/or

controlled and/or maintained by the defendant corporation.

       9. At the time the plaintiff received the injuries   complained of, he was cranking a

switch during a periodic test and injured his right shoulder.

       10. At the time the plaintiff    received the injuries complained of the defendant

Railroad was responsible for providing the plaintiff with a reasonably safe place to work.

       11. The defendant Railroad, its agents, servants, and employees were negligent

in one or more of the following ways:

       (a) it failed to provide reasonably safe premises, rails, ballast, track structure, and

switches; and/or



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         (b) it failed to properly inspect and/or maintain its premises, rails, ballast, track

structure, and switches; and/or

         (c) it failed to properly train the plaintiff and/or his co-workers how to test switches;

and/or

         (d) it failed to warn the plaintiff of the dangerous condition; and/or

         (e) it failed to utilize or adopt proper policies, procedures or guidelines for testing

switches; and/or

         (f) it violated Safety Rule 200.2 (Supervisor Responsibilities); and/or

         (g) it violated Safety Rule 200.6 (Job Safety Briefing), and/or

         (h) it failed to properly tamp the ballast around the switch; and/or

         (i) it failed to use a tamper to pack the ballast under the railroad ties; and/or

         O it failed to modify the track bed around and/or under the switch to prevent the
rail from sagging and/or dropping; and or

         (k) it failed to have a practice of using battery operated drills to operate the

switches; and/or

         (l) it failed to have a rule or procedure requiring use of battery-operated drills to

operate the switches; and/or

         (m) it failed to act in     a   reasonably prudent manner under the facts and

circumstances surrounding the event; and/or

         (n) it failed to provide the plaintiff with a reasonably safe place to work.

         12. As a result of the negligence of the defendant Railroad, its agents, servants,

or employees, the plaintiff injured his right shoulder.




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       13. As a result of the said injuries, the plaintiff has suffered and will suffer   lost

wages and benefits, incurred medical expenses, suffered physical pain and mental

anguish and will continue to do so in the future, suffered permanent scarring and

disfigurement, and has an impairment to his future earning capacity and/or impaired

economic horizons.

      WHEREFORE, in order to fairly and justly compensate the negligently injured

plaintiff and thereby promote safe operating conditions on the defendant Railroad, the

plaintiff demands a judgment for monetary damages against the defendant Railroad in

addition to any further relief the Court deems just and equitable.


PLAINTIFF DEMANDS TRIAL BY JURY

                                           By his attorneys,


                                             By
                                             SqfiE.Ferry{ct17326)
                                             CnHut- & PERRY, P.c.
                                             43 Trumbull Street
                                             New Haven, Connecticut 06510
                                             Telephone: (203) 777-1000
                                             Fax: (203) 865-5904




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